Case 5:18-cv-00153-RWS-CMC Document 850 Filed 11/01/21 Page 1 of 1 PageID #: 27982




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

   TRAVELPASS GROUP LLC, et al         §
                                       §
   V.                                  §     CIVIL NO. 5:18cv153
                                       §
   MARRIOTT INTERNATIONAL,             §
   INC.                                §
   ______________________________________________________________________________

                        MINUTES FOR SIXTH DAY OF TRIAL
                   HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                               NOVEMBER 1, 2021

   OPEN: 8:59 a.m.                                       ADJOURN: 9:15 a.m.
   ______________________________________________________________________________

   ATTORNEYS FOR PLAINTIFFS: See Attorney Sign In Sheet

   ATTORNEYS FOR DEFENDANT: See Attorney Sign In Sheet

   LAW CLERK:                        Andrew Schreiber

   COURTROOM DEPUTY:                 Betty Schroeder

   COURT REPORTER:               Kelly Bryant
   ______________________________________________________________________________
   ______________________________________________________________________________

   8:59 a.m.   Outside presence of the jury, Court and parties discuss filing of dismissal papers

   9:00 a.m.   Jury seated

   9:01 a.m.   Court informs the jury the case has settled and thanks them for their service

   9:07 a.m.   Mr. Schwegmann addresses the jury

   9:09 a.m.   Mr. Poston addresses the jury

   9:10 a.m.   Court informs the jury they are now free to discuss the case

   9:14 a.m.   Jury released

   9:15 a.m.   Adjourned
